            Case 2:19-cv-00985-APG-DJA Document 116 Filed 10/19/20 Page 1 of 2




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 5
     Attorneys for Defendants,
 6   County of Clark and Victor Zavala

 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8

 9                                                     CASE NO: 2:19-CV-00985-APG-DJA
      BRIAN BORENSTEIN, an individual,
10
                    Plaintiff,
11                                                       STIPULATION AND [PROPOSED]
      vs.                                                  ORDER FOR DEFENDANTS
12                                                      COUNTY OF CLARK AND VICTOR
      THE ANIMAL FOUNDATION, a domestic                    ZAVALA TO FILE REPLY IN
13    nonprofit corporation; COUNTY OF CLARK,           SUPPORT OF MOTION TO DISMISS
      ex rel. CLARK COUNTY ANIMAL                         PLAINTIFF'S FIRST AMENDED
14    CONTROL, a political subdivision of the State              COMPLAINT
      of Nevada; SUNRISE HOSPITAL AND
15    MEDICAL CENTER, LLC, a foreign limited-                   (FIRST REQUEST)
      liability company domiciled in Delaware;
16    CARLY SCHOLTEN, an individual; VICTOR
      ZAVALA, an individual; ULRIKE
17    PASTERNAK, an individual; and ROE
      BUSINESS ENTITIES 1-5; and DOE
18    INDIVIDUALS 1-5,
19                  Defendants,
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21           COMES NOW Defendants, County of Clark and Victor Zavala, by and through thei

22   counsel, Jonathan D. Blum, Esq. of Wiley Petersen Law Offices, and Plaintiff, BRIA

23   BORENSTEIN, by and through his counsel, Raelene K. Palmer, Esq. of The Palmer Law Firm

24   P .. C., and Robert S. Melcic, Esq. and hereby request the Court to extend the deadline fo

25   Defendants to respond to [ECF No. 111] Plaintiff's Opposition to County of Clark and Victo

26   Zavala 's Motion to Dismiss the First Amended Complaint and in support of their Motion t

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                                             - Page 1 of 2 -
             Case 2:19-cv-00985-APG-DJA Document 116 Filed 10/19/20 Page 2 of 2




 1   Dismiss [ECF No. 68] by one week from Tuesday, October 20, 2020 to Tuesday, October 27

 2   2020.

 3           This is the first request for an extension. The original deadline was October 20, 2020. Th

 4   parties submit that this request is made in good faith and not for the purpose for undue delay but

 5   is related to unanticipated obligations and calendar deadlines for Defendants' counsel.

 6       DATED this _l_ day of October, 2020.                                day of October, 2020.

 7

 8       By: Isl Robert S. Melcic
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         Attorney for Plaintiff, Brian Borenstein        Attorneys for Defendants, County of
12                                                       Clark and Victor Zavala
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                                                    ORDER
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             IT IS SO ORDERED.
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21
                      October
             DATED: _ _  __   19_ _ _ _ _ _ _ _ , 2020.
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24
                                                     ANDREW
                                                    UNITED   P. GORDON
                                                           STATES MAGISTRATE JUDGE
25                                                   UNITED STATED DISTRICT JUDGE

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